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                United States Court of Appeals
                            For the First Circuit

 No. 09-2213

                          UNITED STATES OF AMERICA,

                                     Appellee,

                                           v.

                                GISELE ALBERTELLI,

                            Defendant, Appellant.
                             ____________________

 No. 09-2478

                          UNITED STATES OF AMERICA,

                                     Appellee,

                                           v.

                                 ARTHUR GIANELLI,

                            Defendant, Appellant.


 No. 09-2606

                          UNITED STATES OF AMERICA,

                                     Appellee,

                                           v.

                                 FRANK IACABONI,

                            Defendant, Appellant.
                             ____________________
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 10-1214

                          UNITED STATES OF AMERICA,

                                    Appellee,

                                          v.

                       DENNIS ALBERTELLI, a/k/a Fish,

                            Defendant, Appellant.
                             ____________________

                APPEALS FROM THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

            [Hon. Nathaniel M. Gorton, U.S. District Judge]


                                    Before
                           Boudin, Circuit Judge,
                         Souter,* Associate Justice,
                           Stahl, Circuit Judges.


      Patricia A. DeJuneas, by appointment of the court, with whom
 Robert L. Sheketoff, by appointment of the court, was on brief for
 appellant Arthur Gianelli.
      Alan P. Caplan for appellant Frank Iacaboni.
      Richard B. Klibaner, by appointment of the court, with whom
 Klibaner & Sabino was on brief for appellant Dennis Albertelli.
      Brian J. Kelly, by appointment of the court, for appellant
 Gisele Albertelli.
      Mark T. Quinlivan, Assistant United States Attorney, with whom
 Carmen M. Ortiz, United States Attorney, was on brief for appellee.




                                 June 29, 2012




       *
       The Hon. David H. Souter, Associate Justice (Ret.) of the
 Supreme Court of the United States, sitting by designation.
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                BOUDIN, Circuit Judge.       A federal jury convicted Arthur

 Gianelli, Dennis Albertelli ("Albertelli"), Frank Iacaboni, and

 Albertelli's wife Gisele ("Gisele") of racketeering, racketeering

 conspiracy or both, and a host of other federal crimes, incident to

 their    years-long     participation          in        a        criminal   organization

 responsible for a large illegal gambling operation.                               Gianelli

 headed the group, with Albertelli serving as the second-in-command.

                The charged criminal conduct involved four operations:

 the first three were different flavors of continuing illegal

 gambling businesses--sports betting, "football cards," and video

 poker--that spawned a variety of criminal support activities such

 as money laundering, usurious lending, and extortionate collection

 of credit; the fourth comprised a single venture by the three male

 defendants (but excluding Gisele) seeking to burn down a business

 in North Reading, Massachusetts.

                The indictment used at trial, as narrowed by dropping

 various counts and other defendants, contained several hundred

 counts against the remaining four already named; but most involved

 individual      transactions   designated           as       money    laundering.        The

 remaining 25 or so charged racketeering conspiracy, racketeering,

 illegal gambling business, transmission of wagering information,

 money    laundering     conspiracy,       interstate                travel   in    aid    of

 racketeering,      extortionate    collection                of    credit,   extortionate

 collection of credit conspiracy, and five variations of arson and


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 extortion crime directed to the planned burning down of the North

 Reading business.1

                Before trial, the defendants jointly moved to suppress

 evidence obtained through a series of wiretaps, arguing in relevant

 part that the application for the initial wiretap--upon which all

 subsequent interceptions were based--was not properly authorized,

 did not show the wiretap was necessary, and was not supported by

 probable cause.        The district court, after hearing argument and

 reviewing the materials submitted, denied the motion in a published

 opinion.       United States v. Gianelli, 585 F. Supp. 2d 150 (D. Mass.

 2008).

                There followed a trial that stretched over several weeks

 and included extensive testimony and wiretap evidence directed to

 the operations of the group, individual transactions, and the roles

 of the individual defendants.             Ultimately the jury convicted all

 four defendants of nearly all of the charges, acquitting each

 defendant on between one and four counts.                Each was convicted of

 racketeering, racketeering conspiracy or both.

                The   defendants    were     later    sentenced       to    terms   of

 imprisonment as follows: Gianelli, 271 months; Albertelli, 216

 months; Iacaboni, 183 months; and Gisele, 21 months.                      Each of the


       1
       An addendum to this decision contains tables that identify
 each charged count by name and statutory citation; indicate which
 defendant was charged on which counts; specify the counts on which
 each defendant was acquitted; and identify the sentence received by
 each defendant.

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 defendants now appeals, but with a few exceptions noted below the

 issues raised on appeal are common to all of the defendants.                       The

 standard of review varies by argument and whether or not the

 argument was preserved in the district court.

                Wiretaps.        Organized     crime   cases    depend    heavily    on

 wiretaps.      For some of the activities--gambling, drug sales, money

 lending--there may be no "victims" to complain.                    Written records

 are often minimal.         And especially where the organization is large

 or affiliated with a larger criminal enterprise, co-conspirators

 may be fearful about turning state's evidence.                     So surveillance

 and wire taps are principal tools of investigation, and the latter

 require warrants.

                Although a warrant issued on probable cause is enough for

 the police to enter and search a home, Title III of the Omnibus

 Crime Control and Safe Streets Act of 1968 ("Title III") (codified

 as amended at 18 U.S.C. §§ 2510 et seq.) imposes even more

 stringent requirements for wiretaps and also requires compliance

 with state law, id. §           2516(2), which in Massachusetts means Mass.

 Gen. Laws ch. 272, § 99(F)(1).              Defendants argue that the initial

 wiretap application was not properly authorized under section

 99(F)(1), as interpreted by Massachusetts' Supreme Judicial Court

 in Commonwealth v. Vitello, 327 N.E.2d 819 (Mass. 1975).

                Vitello held that an assistant district attorney may not

 seek a wiretap on his own authority; rather, the district attorney


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 must "review and authorize" such an application in writing. Id. at

 825, 838-39.          However, so long as the matter is subject to his

 review, the district attorney need not sign the application but may

 authorize      a     subordinate      attorney    to   make    the     application.

 Commonwealth v. D'Amour, 704 N.E.2d 1166, 1175 (Mass. 1999).

                In this case, the Essex County District Attorney by two

 letters--one to three named assistant district attorneys ("ADAs")

 and the other to a Superior Court judge--authorized the three

 subordinates to apply to intercept calls involving Albertelli,

 Gianelli       and     another    named     associate     occurring      over    three

 designated telephone lines; both letters were attached to the

 actual wiretap application signed by the named ADAs; and the

 district attorney's letter said that the application and any

 renewals would be reviewed by the district attorney or a designee.

                In    addition,    a   separate     affidavit     by     the   district

 attorney, offered in response to the motion to suppress in this

 case, attested that he had in fact "reviewed draft copies of an

 affidavit setting forth the probable cause and an application"

 prior to issuing the authorizations, and was satisfied that they

 complied with the relevant statutes.                    He also stated that he

 "personally reviewed every renewal application and supporting

 affidavit."          These documents, the district court held, satisfied

 section 99(F)(1).

                Defendants argue they do not, emphasizing that in D'Amour


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 the specific crimes were also identified in the letter, which was

 dated the same day as the application, whereas in this case the

 application was dated one day after the authorizing letter.                      The

 one day delay makes it possible that the district attorney read

 only a draft rather than the final application; but the district

 attorney's obligation was to superintend and take responsibility

 for the wiretap application, not to act as the final proofreader.

 See D'Amour, 704 N.E.2d at 734-35.

                Citing United States v. Smith, 726 F.2d 852, 856 (1st

 Cir. 1984) (en banc), the defendants say that the district court

 should have held an evidentiary hearing on the extent of his

 oversight; but our remand in Smith was because "the district court

 did    not     make   a   particularistic         inquiry"    into    whether    the

 application was authorized.           Id. at 860.       Here, the district court

 did make such an inquiry and the only material dispute was not

 about what happened but whether the district attorney's version of

 what he did was sufficient oversight.

                Nor do we agree that the wiretap application failed Title

 III's required showing that "other investigative procedures have

 been tried and failed or why they reasonably appear to be unlikely

 to    succeed    if   tried     or   to    be    too   dangerous."      18   U.S.C.

 §     2518(1)(c),     (3)(c).        Here,       the   warrant   application     was

 accompanied by a detailed 74-page affidavit by Massachusetts State

 Police Trooper Nunzio Orlando describing the investigation and


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 explaining in detail the limits on what could be found without

 wiretaps and why individual alternatives were ineffective.

                Defendants point out that these alternative techniques

 had allowed the agents to collect considerable information, as is

 evident from Orlando's affidavit, but the "partial success of the

 investigation did not mean that there was nothing more to be done."

 United States v. Cao, 471 F.3d 1, 3 (1st Cir. 2006) (emphasis

 omitted).       For example, the affidavit explained that some of the

 participants in the conspiracy had not yet been identified, and

 that precautions taken by the known conspirators made the wiretap

 evidence essential to continued gathering of necessary evidence.

                Defendants also complain that the affidavit contains a

 good deal of boilerplate, but so do judicial decisions, and for the

 same reason that in similar situations--here, the conduct of a

 bookmaking operation--much remains unchanged.                          The affidavit,

 however,       included   ample    detail     unique    to   this      investigation,

 including, for example, extensive accounts of efforts at and

 limitations        of     using      confidential         informants,         physical

 surveillance, and telephone record analysis.

                Title III permits wiretaps to investigate "gambling"

 offenses generally, while the state statute--whose conditions must

 also be met--authorizes them for only one gambling offense: keeping

 or being in a place for the registering of bets.                    Mass. Gen. Laws

 ch. 271, § 17.          Gianelli used an off-shore service reached by an


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 800 number to allow his bettors to place wagers, but the affidavit

 described conduct in Massachusetts of related activities such as

 communicating with local agents, settling disputes, and collecting

 payments from local bettors.

                Commonwealth v. Boyle, 189 N.E.2d 844, 845-46 (Mass.

 1963), held it enough that the defendant possessed "memos between

 the   bookmaker         or   office   and    the   agent    or   writer"    of    bets

 registered.      Here, satisfying Boyle, the affidavit reported, based

 on confidential informants, that Albertelli and Ramasci retrieved

 records in Massachusetts indicating their customers' gambling

 balances and specific wagers from the previous week.                            Accord

 Commonwealth       v.    Demogenes,    211     N.E.2d    226,    227   (Mass.    1965)

 (section 17 covers "papers containing records of bets").

                The defendants claim that the phrase "apparatus . . . for

 registering bets" requires that the apparatus be used in the

 process of recording a bet--as opposed to some other facet of the

 gambling business--and that registration of bets in Massachusetts

 must occur to violate the statute. The case law refutes that claim

 and the link here with Massachusetts was sufficient.                    Id.; Boyle,

 189 N.E.2d at 845-46; Commonwealth v. Carlson, 120 N.E.2d 384, 385

 (Mass. 1954).

                There was probable cause to believe the three wiretap

 targets were violating section 17 through their sports betting

 business, so we can bypass the defendants' claims that probable


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  cause was lacking as to their football card and video poker

  activities; probable cause for any one such crime was sufficient.

  In addition, those arguments were not made in the motion to

  suppress      and   have    been    forfeited.       Fed.   R.   Crim.   P.   12(e),

  12(b)(3); United States v. Walker, 665 F.3d 212, 228 (1st Cir.

  2011).

                Agent Kelsch's testimony.            The defendants say that the

  court erred in permitting ATF Special Agent Kelsch to testify

  insofar as he sought to interpret for the jury conversations

  intercepted over the wiretaps.                Similar objections were made to

  testimony by other agents but those made to Kelsch's testimony are

  representative and, at least as to some, better preserved.                    Review

  of preserved objections is for abuse of discretion, and the others

  for plain error.           United States v. Weekes, 611 F.3d 68, 70 (1st

  Cir. 2010).

                The focus of the disputed prosecution testimony concerned

  the charges relating to the effort to burn down a building in North

  Reading, a plot of which investigators learned initially through

  the wiretaps. In brief, Gianelli had partnered with Mark Colangelo

  and Edward Fitzsimons to open a large sports bar in Lynnfield; the

  venture ended in litigation between the partners; and (so the

  government sought to show) Gianelli had sought to bring pressure on

  Colangelo and Fitzsimons by burning down a building in North

  Reading housing a bar and a pizza joint that provided them revenue.


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                According to testimony from Deeb Homsi, a former Hells

  Angel gang member and longtime friend of Albertelli, Albertelli

  asked Homsi to burn down the building, explaining the coercive

  purpose of the crime; and he gave Homsi the address and advice on

  starting the fire.      Homsi then recruited Michael McCormack, who in

  turn recruited another Hells Angels member, Sean Slater, for

  assistance      in   setting   the   fire.      Gianelli     checked   in   with

  Albertelli regularly for updates and later pressed him to finish

  the job.

                Albertelli had separate discussions with Iacaboni about

  the arson project; Iacaboni secured a diagram of the building from

  Albertelli, and the next day told Albertelli that he had recruited

  his own arsonist and discussed with that man specific plans for

  setting the building ablaze; but, the evidence indicated, the

  (unnamed) would-be torch man backed out when Iacaboni told him no

  key was available for the target.         Completion of the task reverted

  to Homsi's recruits.

                After one failed attempt, McCormack and Slater tried

  again on November 13, 2003, and got a gasoline-filled container

  ignited at the site, but firemen extinguished the fire, having been

  alerted by agents who were staked out nearby after intercepting

  telephone calls about the plan. Slater and McCormack were arrested

  nearby.       Albertelli then provided $10,000 to bail out Slater.




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  Later, Gianelli called Albertelli to express concern that McCormack

  might be cooperating with the government.

                In advance of Kelsch's testimony, the defense sought to

  bar    him    from   testifying      as     to   the   meaning    of   intercepted

  conversations which, as is not uncommon in conspiracies, were

  cryptic.      The judge refused to bar the testimony outright:

                It is my inclination at this time to allow Mr.
                Kelsch to testify with respect to specific
                matters that may be within his expertise as
                someone who knows about arson and arson
                investigations. But I am not going to allow
                more general questions as to what happened in
                that conversation.     If the questions are
                directed specifically to specific responses or
                portions of the conversations and they related
                to matters that I believe are not entirely
                clear to lay persons, I will allow such
                testimony. But if they don't, I will sustain
                objections. And, specifically, I would expect
                to sustain an objection to -- after we've
                heard a conversation, if the question is, What
                is happening in that conversation, that is an
                objectionable question. . . . But if they are
                pinpointed to matters . . . that leaves a
                layperson with some ambiguity, I would allow
                such a question.    But the more generalized
                questions I would not allow.

                The judge several times sustained objections to questions

  that   appeared      to   call   for   unduly     speculative     or   generalized

  interpretations, but a good many interpretations were allowed and

  some representative examples follow:

        Excerpts from defendants'                  Kelsch's interpretations
              conversations




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   Gianelli: "What, ah, you talk           Referring to Homsi, whose
   to that kid?"                           brother owned a motorcycle
   Albertelli: "I was with him             repair shop.
   the next morning, and asked if
   he wanted to take a ride, and
   he said he had to take care of
   the shop."
   Albertelli: "Just in case, you          "To make sure that they have
   know, we want to go for a ride          an alibi in place."
   or something."
   Gianelli: "Our way might be             Referring to setting the fire.
   the only right way."
   Albertelli: "I didn't want to           "He's trying to conceal any
   make it look like I knew                knowledge he had about by whom
   anything."                              and how the fire was set."
   Gianelli: "How's the pizza?"            Referring to Romeo's Pizza
                                           restaurant.
   Gianelli: "This kid probably            "He's placing blame on Mark
   tried to burn the fuckin'               Colangelo. . . . They're
   place down. That's what I'm             strategizing about what their
   thinking."                              story would be."
   Albertelli: "It was him?"
   Gianelli: "Anyhow, that's the
   story."
   Gianelli: "Larry     Murray came        "This kid" refers to
   over last night,     and this kid,      McCormack.
   I don't know, he     might be
   talking a little     bit."
   Albertelli: "Not those guys,            "He means that either Mr.
   but someone else that I had             Albertelli and/or Mr. Gianelli
   talked about with it earlier."          have spoken to at least three
   Gianelli: "So we had three or           or four separate individuals
   four fucking parties going              or groups to set the fire."
   here."
   Gianelli: "Just make sure it's          Referring to the fact that the
   right."                                 arson should be done
                                           correctly.


                Police officers commonly help interpret conversations by

  translating jargon common among criminals, either as experts, Fed.

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  R. Evid. 702-703, or as lay witnesses offering "opinion" testimony

  "helpful [to the jury in] . . . determining a fact in issue," Fed.

  R. Evid. 701. Such interpretations give the jury the benefit of an

  independent body of specialized knowledge.              See Fed. R. Evid. 702

  advisory committee note; Kumho Tire Co. v. Carmichael, 526 U.S.

  137, 150 (1999) (drug jargon expertise); 1 Dix et al., McCormick on

  Evidence § 13, at 78 (6th ed. 2006); 4 Weinstein & Berger,

  Weinstein's Federal Evidence § 702.04[1][c] (2d ed. 2006).

                But a number of Kelsch's disputed interpretations were

  peculiar to these defendants and depended largely on Kelsch's

  immersion      in   the   details    of     this    investigation.      Although

  linguistically possible, calling such testimony "expert opinion"

  would lend undue credibility to it and increase the risk of

  reliance on information not properly before the jury as data on

  which "experts in the particular field would reasonably rely," Fed.

  R. Evid. 703, even though the "field" is merely the facts of the

  case.

                While these dangers are lessened by treating Kelsch's

  interpretations as lay witness opinions, the interpretations do not

  reflect a traditional reason for allowing lay opinions--that many

  observations people make "every day in ordinary life cannot be

  adequately      described     in   words     confined    to   descriptions      of

  observable phenomena."         Weinstein & Berger, supra, § 701.02; see

  also Fed. R. Evid. 701 advisory committee note.                 Still, Kelsch's


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  testimony undoubtedly had a potential to help the jury, which is

  all Rule 701 requires for lay opinion.

                Kelsch had investigated Gianelli's operations for years,

  had became familiar with the voices of the major participants, had

  interviewed     witnesses     related    to   the   investigation,      and    had

  reviewed      materials   seized    from      the   defendants.        That    his

  understanding of the oblique statements in the wiretaps might be

  "helpful" to the jury is an understatement; some of the defendants'

  wiretapped statements could be entirely unintelligible to the jury

  absent some context-based interpretation.

                For years on end, the defendants deliberately spoke in

  unintelligible terms, surely to hamper prosecution of their crimes.

  True, the traditional division of witness examination and counsel's

  argument would call for the government to shower the jury with

  evidence of those oblique exchanges without any meaningful way of

  explaining it before the closing arguments of a multi-week (or

  multi-month) trial. And in some trials there might be a very large

  number of wiretaps introduced.

                So, while not the most traditional lay opinion, Kelsch's

  testimony formally meets the requirements of Rule 701, being

  "rationally based on [his] perception" of the conversations, United

  States v. Santiago, 560 F.3d 62, 66 (1st Cir. 2009); "helpful" in

  the Rule 701 sense broadly understood; and yet not based on expert

  knowledge within the meaning of Rule 702.               The problems, such as


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  they are, with such testimony turn rather on dangers that have been

  explored in various contexts in other cases:2

                       -that the testimony may effectively
                smuggle in inadmissible evidence (e.g.,
                hearsay not within some exception and perhaps
                inadmissible under the Confrontation Clause);

                       -that the witness may be drawing
                inferences that counsel could do but with
                advantages as to timing, repetition and the
                imprimatur of testifying as a law enforcement
                officer;

                       -that the witness may usurp the jury's
                function by effectively testifying as to guilt
                rather than merely providing building blocks
                for the jury to draw its own conclusion;

                       -that the witness may be unable to
                point   to  any   rational basis  for  the
                interpretation offered or be doing nothing
                more than speculating; and

                        -that the witness may act as a summary
                witness     without    meeting    the    usual
                requirements.

                These dangers, which are present in scenarios other than

  interpreting shielded or oblique language, vary (both in degree and

  kind) with the facts--as do the need for the testimony and the

  extent to which the witness' unique experience permits him to be

  helpful. There are also available safeguards including supervision

  by   the   judge,   cautionary    instructions,     and    above    all   cross-



        2
        E.g., United States v. York, 572 F.3d 415, 425-26 (7th                Cir.
  2009); United States v. Flores-de-Jesús, 569 F.3d 8, 20-21                  (1st
  Cir. 2009); United States v. Freeman, 498 F.3d 893, 902-05                  (9th
  Cir. 2007); United States v. Dukagjini, 326 F.3d 45, 53-59 (2d              Cir.
  2002).

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  examination, which is more helpful as to some dangers than others.

  Where       the     witness   can     explain        the    basis   for    his     specific

  interpretations, decisions in other circuits have upheld admission

  of such testimony by law enforcement officers,3 especially in

  organized crime and terrorism cases.

                     In this case, the need for interpretation was clear, and

  there       is    no   indication     that     the    potential     dangers       harmfully

  manifested themselves.               The district judge's in limine ruling

  (quoted above) demonstrates that he gave the need for the testimony

  careful          consideration    and    ruled       that   it   must     be    limited    to

  conversations          that   were      unclear;      he    also    sustained       several

  objections to questions calling for speculative answers and gave a

  cautionary instruction at the end of the trial.

                    Minimizing another set of dangers, Kelsch said that the

  opinions were his own and that he was not purporting to represent

  collective knowledge.             When pressed by defense counsel for the

  bases of his interpretations, Kelsch did not, as the defendants

  claim and the Second Circuit condemned in Grinage, rely on broad

  appeals to "the totality of the investigation" but instead usually




          3
        Compare United States v. Jayyousi, 657 F.3d 1085, 1103-04
  (11th Cir. 2011), and United States v. El-Mezain, 664 F.3d 467,
  513-15 (5th Cir. 2011), and United States v. Rollins, 544 F.3d 820,
  831-33 (7th Cir. 2008), with United States v. Grinage, 390 F.3d
  746, 749-51 (2d Cir. 2004) (excluding such testimony where the
  witness said it rested on knowledge of "the entire investigation").

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  pointed to sources of information such as statements from Homsi and

  McCormack, other recorded conversations, and surrounding events.

                Kelsch did say at the start of his redirect examination

  that his opinions drew on all that he learned in the investigation,

  and in a single area of questioning Kelsch stated that his opinion

  that   the    arson   was    motivated    by   extortion     was    based   on   his

  familiarity with the overall case.             But the interpretations Kelsch

  offered were his own, and the wiretaps backed up Kelsch's inference

  as to the purpose of the arson.                And he was subject to cross-

  examination as to basis and possible grounds to impeach his

  testimony.

                As to specific interpretations of words or phrases,

  defense counsel vigorously cross-examined Kelsch regarding their

  plausibility and bases, which resulted in concessions that certain

  opinions were not derived from his arson expertise, as well as

  acknowledgments of alternative interpretations of several ambiguous

  statements.        Where      such   alternatives      can   be     offered,     the

  plausibility of the witness' own position--unlike, say, that of a

  medical expert--is readily measured by the jury.

                Similarly, defense counsel impeached Kelsch at trial with

  a prior statement in a warrant affidavit that the motive was

  retaliation     for   past    acts   rather     than   coercion     amounting    to

  extortion; but Kelsch explained that he had prepared the affidavit

  only months into his participation in the investigation and without


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  the benefit of information from Homsi and McCormack directly

  supporting the extortion rationale.             And the jury had Homsi's

  testimony as well as other evidence to make its judgment.4

                The defendants raise similar objections to chunks of

  testimony from three other law enforcement witnesses who offered

  interpretations similar to Kelsch's for intercepted calls relevant

  to the gambling charges, but they forfeit these claims as to two of

  the witnesses by citing no specific testimony.              Of the remaining

  objections, which concern the testimony of State Police Sgt.

  Russolillo, only three were preserved at trial (and only these need

  be discussed, for the others were not plain error).

                The first preserved objection as to Russolillo concerned

  the following question and answer:

                Q: And toward the middle of Page 2 when Dennis
                Albertelli says, "She had 80 bucks going into
                the late game."     She said, "Well, what's
                left," and so on. What's your understanding
                of who was being discussed with the "she"?
                A: Gisele Albertelli.

  The defendants do not claim that the identification of Gisele was

  faulty, nor do they attempt to explain why it might have been a

  debatable proposition or how the answer was prejudicial.                     The



       4
        Homsi testified to statements by Albertelli in soliciting
  Homsi's assistance--e.g., "[T]hey had a lot of money tied up in the
  [Lynnfield] Big Dog and the guy was holding them back, stalling,
  and that was it, they wanted to burn the pizza joint"--and recorded
  calls between Gianelli and Albertelli included references to the
  arson as "our only hope" and "the only right way" to resolve
  problems with Colangelo.

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  objection was generic, but to the extent we construe it as raising

  the issues discussed above regarding Kelsch's testimony, it fails

  for the reasons already set out.

                That brings us to the remaining two preserved objections

  to Russolillo's testimony, which are of a different character in

  that they claim he twice offered forbidden "role-in-the-offense"

  testimony in discussing first a letter and then a phone call:

                Q: [As to the letter] If those particular
                individuals lost, how would Mr. Albertelli
                benefit?
                A: He benefits from the commission that he has
                from the losses
                Q: And did you understand Mr. Albertelli's
                role in this organization to be more than just
                an agent?
                A: Yes.
                Q: And what did you understand his role in
                this organization to be?
                A: To be partners.

                Q: Towards the end of the [recorded]
                conversation, Mr. Gianelli says, "Oh then take
                it from him.   Take it from him.    We're all
                right."   What is your understanding of the
                relationship in this organization, in the
                hierarchy, between Mr. Albertelli and Mr.
                Gianelli as reflected by that call?
                A: Dennis Albertelli couldn't make the
                decision on this.    He had to refer to his
                boss, Arthur Gianelli.

                The defendants liken this to testimony condemned in

  United States v. Meises, 645 F.3d 5, 14-15 (1st Cir. 2011). There,

  the government's first witness was the lead investigator in the

  case, and the government opened its case-in-chief by walking the

  witness through all of the steps in the investigation, culminating


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  in a question to the case agent of his opinion, based on the

  totality of the investigative steps described, about the role of

  each defendant in the criminal organization.                     Id. at 14.       This, we

  held, was improper.

                But Meises involved the kind of preview testimony by a

  summary witness that is especially troublesome, United States v.

  Casas, 356 F.3d 104, 118-20 (1st Cir. 2004), and purports to sum up

  (in advance of the evidence) the government's overall case.                                 In

  contrast,      Russolillo's         specialized        knowledge       of   gambling     was

  unquestioned, his testimony was expressly tied to the implications

  of   specific        pieces    of    evidence,       and    it   was    not    used    as    a

  substantive preview.              There was no abuse of discretion--let alone

  plain error--in permitting his testimony here.

                Looking finally to future cases, we think that district

  judges faced with interpretive testimony typified by Kelsch's ought

  to start, as the trial judge did here, by considering whether the

  testimony is meaningfully helpful to the jury, compared to the

  traditional         device    of    saving     the   interpretive       inferences       for

  counsel       in     closing       argument,     and       whether     limitations       can

  sufficiently mitigate the dangers noted earlier.                              And, to the

  extent possible, such limitations ought to be identified.

                Further, the witness should be prepared to explain the

  basis for any challenged interpretation and may not say only that

  it is based on "the totality of the investigation."                           Unlike some


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  lay opinions (e.g.,      the car was going "fast"), an interpretation

  of a phrase or reference ought to be explicable, and dangers

  already adverted to lurk in one that cannot be explained.                      The

  trial judge may need in some cases to take proffers or allow cross-

  examination outside the presence of the jury.

                Lastly, the basis relied upon for an interpretation must

  be one not unduly troubling to the trial judge because of apparent

  unreliability, undue prejudice, importation of inadmissible hearsay

  or some other circumstance that might make it unsuitable as an

  explanation. The variety of concerns and variations in cases makes

  it difficult to lay down rules and appropriate for wide discretion

  on the part of the trial judge reviewed only for the clearest

  abuse.

                Attorney-client privilege.         A contested issue at trial

  was the motive underlying the attempted arson; the government's

  case on certain of the counts required proof that the motive, as

  charged in the indictment, was to extort control over the Lynnfield

  restaurant project from Colangelo and Fitzsimons.                   The defense

  countered by urging that at worst the motive was merely revenge.

  The government offered both direct and wiretap evidence pointing to

  extortion.     See note 4, above.        A third line of evidence raised the

  attorney-client issue.

                Over objection based on privilege, Mark O'Connor, an

  attorney and long-time friend of Albertelli, testified about a


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  conversation he had with Albertelli about "various strategies that

  might be employed to get control" of the Lynnfield restaurant from

  the "guys on the other side":

                [Albertelli said] [i]f they could cut off
                their funds, wouldn't they then fall faster in
                a financial house of cards? And I said, Sure,
                but how is that going to happen?      And Mr.
                Albertelli said, Well– . . .--what if there
                was a fire at the Big Dog North Reading and
                they weren't able to take any income out of
                the place?

  As O'Connor vehemently discouraged such an effort, Albertelli

  inquired, "[H]ow illegal is arson?"

                Whether or not O'Connor was acting as Albertelli's lawyer

  in the conversation or merely as a friend, Albertelli forfeited the

  privilege      under   the     crime-fraud     exception      which    excludes

  communications from client to attorney made (1) when the client was

  engaged in (or was planning) criminal or fraudulent activity, and

  (2) with the intent to facilitate or conceal the criminal or

  fraudulent activity.          In re Grand Jury Proceedings (Gregory P.

  Violette), 183 F.3d 71, 74-76 (1st Cir. 1999).

                In some situations, nothing sinister is implied by asking

  about the legality of conduct, possible penalties or both; but

  Albertelli certainly knew that arson was illegal, and his threshold

  question--"If they could cut off their funds . . . "--revealed his

  motive for the crime and the intent to facilitate its commission

  through his inquiries of O'Connor.           Once a plan to commit a crime




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  is conceived, disclosing that to an attorney waives the privilege.

  Id. at 74-76.

                Organized crime references.             To support racketeering

  conspiracy      charges,      the   government       introduced       evidence     of

  Gianelli's association with organized crime and mafia figures

  through, for example, "rent" and "tribute" payments, as well as the

  use of organized crime figures to collect debts.                   In closing, the

  government argued that the payments were in exchange for freedom to

  operate the gambling operations as well as intimidation.

                Iacaboni, Albertelli, and Gisele argue on appeal that all

  of the evidence of mafia associations was particular to Gianelli

  and unfairly prejudicial as to them.             But, having failed to object

  a trial, these defendants can prevail only by showing not only

  error but also a likely effect on the result, United States v.

  Olano, 507 U.S. 725, 731-32 (1993), which they cannot do.                      As it

  happens,      the   jury   acquitted      two   of   the   three     defendants    on

  racketeering-related charges, bearing out its ability to disregard

  any inference of guilt by association.                United States v. Flores-

  Rivera, 56 F.3d 319, 326 n.2 (1st Cir. 1995).

                Sufficiency. Iacaboni also challenges the sufficiency of

  the evidence against him on the arson and extortion counts, arguing

  that they rely on a conspiracy that was never proved, at least as

  to him.       The question is whether "any rational factfinder could

  have found that the evidence presented at trial, together with all


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  reasonable inferences, viewed in the light most favorable to the

  government, established each element of the particular offense

  beyond a reasonable doubt."          United States v. Poulin, 631 F.3d 17,

  22 (1st Cir. 2011).

                As previously recounted, Albertelli recruited Iacaboni on

  Gianelli's behalf to provide an alternative to Homsi's crew;

  Iacaboni obtained a diagram of the building and told Albertelli

  that he had recruited his own arsonist and discussed with that man

  specific plans for setting the building ablaze that same evening.

  This is not mere preparation to enter the conspiracy, as Iacaboni

  claims, but further along the path from agreement to completion

  than many conspiracies.

                It was for the jury to determine whether the evidence

  showed a single agreement that included Iacaboni, see United States

  v. Jones, 674 F.3d 88, 92 (1st Cir. 2012), and the limited success

  by   Homsi's    crew   did    not   remotely   amount   to   a     withdrawal   by

  Iacaboni.      United States v. Munoz, 36 F.3d 1229, 1234 (1st Cir.

  1994).   In short, no error flawed Iacaboni's conviction as to the

  arson and extortion counts.

                Iacaboni also challenges the sufficiency of the evidence

  against him on the gambling counts, arguing that the evidence of

  his participation was too thin to support the jury's finding that

  he "conduct[ed]" an illegal gambling business within the meaning of

  18 U.S.C. § 1955. But the statute "applies even to individuals who


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  have no role in managing or controlling the business and who do not

  share in its profits," and "proscribes any type or degree of

  participation in an illegal gambling business, except participation

  as a mere bettor."         United States v. Zannino, 895 F.2d 1, 10 (1st

  Cir. 1990).

                On   Count   3,   the    evidence       included     a    call   between

  Albertelli and Iacaboni where Albertelli relayed betting lines for

  various football games; another call where Iacaboni offered to

  bring a large-scale bettor to Albertelli and split the profits

  evenly; and testimony from a witness who said she wrote bets "a

  couple of times" with Iacaboni.                A jury could find that Iacaboni

  conducted a gambling operation.

                Iacaboni also says that Count 5 essentially charged him

  with conducting Albertelli's football card business but that the

  evidence showed he and Albertelli had separate football card

  businesses, and Iacaboni's was too small to trigger criminal

  penalties under section 1955.                  See 18 U.S.C. § 1955(b)(1)(ii)

  (requiring five or more persons who conduct, finance, manage,

  supervise, direct, or own the illegal gambling business).

                Intercepted calls between Iacaboni and Albertelli showed

  that Iacaboni sold his football card operation to Albertelli around

  November 2003, with Iacaboni continuing to share in the profits;

  and   the     evidence     supported       a   finding     that--in     addition     to

  Albertelli and Iacaboni--Gisele, Randy Albertelli, James Nadeu,


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  Micahel Schultzberg, John Onanian, Harold Marderosian, and Alan

  Bernstein all conducted that illegal business.

                In closing, in connection with a number of the issues but

  especially the disputed testimony by Kelsch, we note that the

  government had a strong case which it was difficult for the

  defendants to counter.        The evidence against Iacaboni has already

  been described above and much of the evidence against the other two

  principal defendants (Gianelli and Albertelli) was from recordings

  of their own calls, a number of which were incriminatory without

  being overly cryptic.

                One witness (Homsi), the intermediary with the arsonists,

  testified for the government to describe his conversations with

  Albertelli.       Gianelli was recorded on various calls inquiring

  repeatedly about Homsi's progress and pressing Albertelli to speed

  up the arson plans; after the arrests, Gianelli expressed concern

  that one the arsonists might be talking.           One of the two arsonists

  found at the scene (McCormack) also testified for the government.

  And Albertelli's discussion with his lawyer friend featured a

  telling admission.        There is no reason to believe here that

  innocent defendants have been convicted.

                Affirmed.




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                                       ADDENDUM

         Count #                                  Crime
   1                   Racketeering conspiracy, 18 U.S.C. § 1962(d)
   2                   Racketeering, 18 U.S.C. § 1962(c)
   3-5                 Illegal gambling business, 18 U.S.C. § 1955
   6-7                 Transmission of wagering information, 18 U.S.C.
                       § 1084
   8, 184              Money laundering conspiracy, 18 U.S.C. § 1956(h)
   9-183, 185-         Money laundering, 18 U.S.C. § 1956(a)(1)(A)(I),
   236, 273,           (B)(I)
   278-327
   267                 Conspiracy to commit arson, 18 U.S.C. § 371
   268                 Arson, 18 U.S.C. § 844(I)
   269                 Use of fire/explosive to commit a felony, 18
                       U.S.C. § 844(h)(1)
   270, 274, 276       Conspiracy to commit extortion, 18 U.S.C. § 1951
   271, 275, 277       Attempted extortion, 18 U.S.C. § 1951
   272                 Interstate travel in aid of racketeering, 18
                       U.S.C. § 1952(a)(3)
   328, 330, 332       Conspiracy to commit extortionate collection of
                       credit, 18 U.S.C. § 894(a)(1)
   329, 331, 333       Extortionate collection of credit, 18 U.S.C.
                       § 894(a)(1)




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     Defendant           Counts             Counts                 Sentence
                        Charged           Acquitted
   Gianelli         1-183, 185-       5, 272             271 months
                    272, 274-323,
                    328-333
   D. Albertelli    1-183, 185-       272                216 months
                    273, 278-300,
                    324-327
   Iacaboni         1-3, 5, 267-      2                  183 months
                    271
   G. Albertelli    1, 2, 5, 184-     185-187, 201       21 months
                    232




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